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 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                        ) Case No.: CR.S. 08-212 LKK
     United States of America,            )
 9                                        ) STIPULATION AND ORDER TO CONTINUE
                Plaintiff,                ) STATUS CONFERENCE
10                                        )
          vs.                             ) Court: Hon. Lawrence K. Karlton
11                                        ) Time:   9:15 a.m.
                                          ) Date:   March 3, 2009
12   Michael Epps,                        )
                                          )
13              Defendant
14

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16        Defendant Michael Epps was convicted of one count in a 43 count
17   indictment and one count in a superceding information with violations
18   of 21 U.S.C. § 843(b) – Use of a Communication Facility in violation
19   of 21 U.S.C. § 843(b).     Judgment and sentencing was previously set for
20   December 8, 2008.      The parties request that sentencing be continued
21   to March3, 2009, to allow time for probation to interview Mr. Epps and
22   verify information therein provided.       That date is available with the
23   Court.   The parties adopt the following schedule:
24              Draft Report:                    January 27, 2009
25              Informal Objections:             February 10, 2009
26              Final Report:                    February 17, 2009
27              Sentencing Memorandum:           February 24, 2009
28              Judgement & Sentencing:          March 3, 2009




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 1
     Dated: December 19, 2008          Respectfully submitted,
 2

 3

 4
                                      __/s/ Shari Rusk___
                                      Shari Rusk
 5                                    Attorney for Defendant
                                      Michael Epps
 6

 7
                                       /s/ Mary Grad
 8                                      Mary Grad
                                       Assistant United States Attorneys
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11

12                                     ORDER

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14        IT IS SO ORDERED.
     DATED: December 19, 2008
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